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                                                        U.S. Department of Justice

                                                        United States Attorney
                                                        Southern District of New York


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                                                        New York, New York 10007


                                                        October 30, 2018

  Via Email
  The Honorable Edwin G. Torres
  United States Magistrate Judge
  Southern District of Florida
  Miami, Florida 33132
  Email: torres@flsd.uscourts.gov

         Re:     United States v. Cesar Altieri Sayoc,
                 18 Mag. 3581 (S.D. Fla.), 18 Mag. 9159 (S.D.N.Y.)

  Dear Judge Torres:

           The Government respectfully submits this letter in advance of the proceeding scheduled
  for November 2, 2018 at 10:00 a.m. The defendant conducted a domestic terrorist attack targeting
  at least 15 victims with improvised explosive devices (“IEDs”) that he sent to locations throughout
  the country in padded mailing envelopes. One of the IEDs was intercepted in the mail yesterday,
  days after the defendant’s arrest and around the same time as his first court appearance before
  Your Honor. While analysis of the IEDs by the Federal Bureau of Investigation (“FBI”) remains
  ongoing, it is clear that many of the devices contained energetic material with explosive qualities,
  and several of the devices also contained shards of glass that could only have been intended to
  maximize harm to the defendant’s victims.

          The defendant is currently charged with five serious crimes in the Complaint that is
  attached as Exhibit A, and he faces a maximum sentence of 48 years’ imprisonment. The FBI has
  already recovered electronic devices from the defendant that contain documents with the victim
  addresses to which the defendant mailed the IEDs as well as Internet searches related to his targets.
  Metadata from the electronic devices indicates that the defendant started planning the attack as
  early as July 2018. DNA and other forensic evidence from the IEDs further establishes the
  defendant’s identity as the perpetrator. And as law enforcement continues to investigate, the
  defendant is likely to face additional charges and increased penalties. Under these circumstances,
  the defendant should be detained pending trial, and there can be no serious question as to his
  identity under Federal Rule of Criminal Procedure 5(c)(3)(D)(ii). Accordingly, the Government
  respectfully requests that following Friday’s proceeding, the Court transfer the defendant to the
  Southern District of New York to face the consequences of his actions.
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 I.         The Defendant Should Be Detained Pending Trial

             There are no conditions that could adequately protect the public from the defendant and
      assure his appearance in Manhattan for trial. Accordingly, the Bail Reform Act requires the
      defendant’s detention due to both his dangerousness to the community and risk of flight.

            A. Applicable Law

              “The Bail Reform Act provides that a court ‘shall order the pretrial release of the person’
      unless it determines ‘that such release will not reasonably assure the appearance of the person as
      required or will endanger the safety of any other person or the community.’” United States v.
      Clum, 492 F. App’x 81, 84 (11th Cir. 2012) (quoting 18 U.S.C. § 3142(b)). The Government
      meets its burden on dangerousness by proffering clear and convincing evidence. See 18 U.S.C.
      § 3142(f). Flight risk may be established by a preponderance of the evidence. See Clum, 492 F.
      App’x at 85. “Either ground may support an order of detention.” Id.

                In determining whether the defendant poses a flight risk, a court must consider several
                factors, including (1) the “nature and circumstances” of the charged offense, (2) the weight
                of the evidence against the defendant, and (3) the defendant’s history and characteristics,
                including his character, his family and community ties, his past conduct, his criminal
                history, and his “record concerning appearance at court proceedings.”

      Id. (quoting 18 U.S.C. § 3142(g)).

            B. Discussion

              Substantially all considerations relevant to bail support the imposition of an order of
      detention on the bases of the defendant’s dangerousness and flight risk.

                1. Nature and Circumstances of the Offenses

              The defendant mailed at least 15 IEDs to intended victims that included current and former
      politicians and private citizens.1 The Complaint describes 13 of those devices. On the day the

      1
        To date, law enforcement personnel have intercepted packages addressed to George Soros,
      former Secretary of State Hillary Clinton, former CIA Director John Brennan, former President
      Barack Obama, Representative Maxine Walters (separate packages mailed to Washington, D.C.
      and Los Angeles, California), former Attorney General Eric Holder, former Vice President Joseph
      Biden (separate packages to two addresses in Delaware), Robert De Niro, Senator Cory Booker,
      former Director of National Intelligence James Clapper, Senator Kamala Harris, Thomas Steyer,
      and CNN in Atlanta. The last two mailings were intercepted after the filing of the Complaint
      charging the defendant.
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  FBI arrested the defendant, law enforcement intercepted a 14th IED that the defendant had mailed
  to Thomas Steyer in San Francisco, California. Just yesterday, on the same day as the defendant’s
  initial appearance before Your Honor, law enforcement intercepted another of the defendant’s
  IED-laden packages before it reached its intended target at CNN in Atlanta, Georgia.

          The FBI’s analysis of the defendant’s IEDs is ongoing, but it is clear that they were
  dangerous. The IEDs that have been analyzed thus far contained energetic material with explosive
  qualities. (See Compl. ¶ 8(b) & n.1).2 The defendant also placed shards of glass in several of the
  IEDs for the apparent purpose of maximizing harm to his intended victims through the detonation
  of the devices that he had mailed.

          As a result of this brazen course of conduct, the defendant is currently charged with five
  crimes. Count One charges the defendant with interstate transportation of an explosive, in
  violation of 18 U.S.C. § 844(d), which carries a maximum term of imprisonment of 10 years.
  Count Two charges the defendant with illegally mailing explosives, in violation of 18 U.S.C.
  § 1716(j)(2), which carries a maximum term of imprisonment of 20 years. Count Three charges
  the defendant with conveying threats against an immediate family member of a former President,
  in violation of 18 U.S.C. § 879(a), which carries a maximum term of imprisonment of five years.
  Count Four charges the defendant with conveying threats in interstate commerce, in violation of
  18 U.S.C. § 875(c), which carries a maximum term of imprisonment of five years. Count Five
  charges the defendant with assaulting a former federal official, in violation of 18 U.S.C.
  § 111(a)(2), which carries a maximum term of imprisonment of eight years. The FBI’s
  investigation is ongoing, and the Government is in the process of evaluating additional evidence,
  which may warrant further criminal charges. However, the seriousness of the existing charges, as
  well as of the underlying conduct, strongly support the imposition of a detention order.

            2. The Weight of the Evidence

          The evidence of the defendant’s terror campaign is still being collected but is already
  overwhelming. Because of the powerful proof that the defendant perpetrated these acts, he poses
  a substantial danger to the community. In light of the consequences at issue and the likelihood of
  conviction, the defendant is also a substantial flight risk. Therefore, pretrial detention is
  appropriate. Set forth below are examples of some of the evidence law enforcement has collected
  since the investigation began last week.

          The FBI arrested the defendant on October 26, 2018, in the vicinity of a white van that he
  appears to have been living in at the time of his arrest (the “Sayoc Van”). The Sayoc Van bears
  stickers that depict some of the defendant’s intended victims labeled with red crosshairs, such as
  former President Obama and former Secretary of State Hillary Clinton.

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    Some of the devices are either in transit, or have only recently arrived, at the FBI’s laboratory
  in Quantico, Virginia.
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          The FBI also seized multiple electronic devices from the Sayoc Van, including a laptop
  (the “Sayoc Laptop”), which were searched pursuant to warrants issued in the Southern District of
  New York. The Sayoc Laptop contains lists of physical addresses that match the labels on the IED
  packages that the defendant mailed, which are saved at a file path on the computer that includes a
  variant of the defendant’s first name: “Users/Ceasar/Documents.” A document from that path,
  titled “Debbie W.docx” and bearing a creation date of July 26, 2018, contains repeated copies of
  the return address in “Sunrise, Florida” that the defendant used on the packages and the name
  “Debbie W. Schultz.” Similar documents bearing file titles that include the name “Debbie” and
  creation dates of September 22, 2018, contain exact matches of the return address used by the
  defendant, including (i) the misspelling of Schultz’s name as “Debbie Wasserman Shultz,” (ii) an
  address in “Sunrise, Florids [sic],” and (iii) what appears to be the same typeface, font, and font
  size. Other files on the Sayoc Laptop, which also have metadata reflecting creation dates of
  September 22, 2018, contain text that served as the mailing labels for the addresses of the intended
  victims to whom the defendant mailed IEDs before his arrest. Documents from the Sayoc Laptop
  also reflect addresses for numerous additional targets.3 Put simply, only the defendant’s arrest and
  incapacitation resulting from his detention were sufficient to stop his attack.

          Forensic evidence from the Sayoc Laptop also indicates that the defendant used that
  computer to conduct research on his targets. On or about September 18, 2018, the defendant
  visited a website the address of which included the text “vice-president-joe-bidens-house-
  former/view,” and he also conducted the following Internet searches, among others, related to
  some of his targets:

                  “cnn building”
                  “george soros and family”
                  “hilary clinton and family”
                  “james clapper wife and kids”
                  “eric holder wife and kids”
                  “john brennan wife and kids”

         The defendant possessed a cellphone at the time of his arrest (the “Sayoc Phone”), which
  the FBI is also searching. Thus far, the search has revealed that the defendant used the phone to
  conduct the following Internet searches, among others, on the dates indicated:

                  July 15, 2018: “hilary Clinton hime address”
                  July 26, 2018: “address Debbie wauserman Shultz”
                  September 19, 2018: “address kamila harrias”
                  September 26, 2018: “address for barack Obama”

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    The FBI is warning each individual who appears based on evidence collected during the
  investigation to have been identified by the defendant as a potential target, and will continue to do
  so if additional names are identified in other evidence.
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                  September 26, 2018: “michelle obama mailing address”
                  September 26, 2018: “joseph biden jr”
                  October 1, 2018: “address cory booker new jersey”
                  October 20, 2018: “tom steyers mailing address”
                  October 23, 2018: “address kamala harris”

  The Sayoc Phone also contains photographs of some of the defendant’s intended victims, including
  George Soros, and pictures that appear to have been downloaded from the Internet and purport to
  be the home of former President Obama, the home of former Vice President Biden, and a driver’s
  license belonging to former First Lady Michelle Obama that includes another address.

         The U.S. Postal Inspection Service (“USPIS”) has thus far concluded that 14 of the
  defendant’s IED mailings were routed through a postal facility that services the area where the
  defendant resided prior to his arrest,4 and the forensic evidence connecting the defendant to these
  devices is mounting. To date, the FBI has identified possible DNA associations between a DNA
  sample collected from the defendant prior to his arrest and DNA found on components from 10 of
  the IEDs, and latent fingerprints on two of the mailing envelopes have been identified to the
  defendant.

          Based on this and other evidence, the Government will establish that the defendant mailed
  IEDs to at least 15 intended victims with intent to harm them and those in their proximity. Thus,
  like the seriousness of the charges, the strength of the evidence supports the imposition of an order
  of detention as to the defendant.

            3. The Defendant’s Personal History and Characteristics

            The defendant’s personal history and characteristics also support an order of detention.

           The defendant has limited ties to the Southern District of Florida. Although he has relatives
  in the Miami area, he informed law enforcement following his arrest that he was estranged from
  his mother and living out of the Sayoc Van. More importantly, the defendant appears to have no
  ties to the Southern District of New York, where he will be prosecuted. See, e.g., United States v.
  Rivera, 90 F. Supp. 2d 1338, 1343 (S.D. Fla. Mar. 10, 2010) (“The relevant community is, of
  course, the community in which the defendant faces prosecution. In the federal system, courts
  look to the ties of a defendant to the judicial district in which the criminal charges have been
  brought.”). As a result of the defendant’s living circumstances and lack of ties to the New York
  City area, he poses a significant risk of flight.

          The defendant’s criminal history underscores his dangerousness and flight risk. According
  to a criminal complaint, in August 2002 the defendant contacted an employee of Florida Power &

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    USPIS’s review is ongoing, and has only just begun with respect to the package that was
  intercepted yesterday.
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      Light (“FPL”), threatened to “blow up FPL” in a manner that “‘would be worse than September
      11th,’” and “threatened that something would happen” to the FPL employee if his utility services
      were terminated by FPL. (See Ex. B at 1). The defendant subsequently pleaded guilty to
      threatening to throw a destructive device in the second degree, in violation of Florida Statutes,
      Section 790.162. (Id. at 5). In December 2002, the defendant was sentenced to one year of
      probation. (Id. at 6). The defendant subsequently committed several crimes that are minor relative
      to the charges he now faces. He was repeatedly sentenced to terms of probation, and he appears
      to have violated the terms of his probation at least twice in 2015.

              The defendant’s previous felony conviction for a crime of violence serves as additional
      evidence of his dangerousness. Moreover, when viewed in aggregate, the defendant’s criminal
      history evinces a lack of respect for court orders and suggests that he would not abide by conditions
      of pretrial release. Finally, previous lenient sentences were insufficient to deter the defendant, and
      he has never faced the type of sentencing consequences at issue in this case, which creates still
      greater incentives for him to flee.

                                                *       *       *

           Therefore, for all of these reasons, the defendant poses a substantial danger to the
      community and a significant risk of flight. Accordingly, he should be detained pending trial.

II.      The Defendant Is the Person Charged in the Complaint

              In light of the evidence set forth above, there can be no serious question as to the
      defendant’s identity. “The sole purpose” of an identity hearing “is to determine whether the person
      arrested is the person wanted in the other district.” United States v. Asencio, No. 17 Mag. 6190,
      2017 WL 4005636, at *2 (S.D.N.Y. Sept. 12, 2017) (quoting United States v. Saldana-Beltran, 37
      F. Supp. 3d 1180, 1183-85 (S.D. Cal. 2014)). “It is not a merits hearing,” and Government need
      only establish identity based on probable cause. Id. (citing United States v. Antoine, 796 F. Supp.
      2d 417, 419-20 (E.D.N.Y. 2011), United States v. Rodriguez-Torres, No. 14 Mag. 1095, 2014 WL
      2320081, at *2 (S.D.N.Y. May 30, 2014)).
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          The Complaint charges “Cesar Altieri Sayoc” in five counts. The defendant in custody has
  acknowledged that his name is the one in the document. The FBI has preliminarily identified
  associations between forensic evidence on most of the IEDs described in the Complaint and DNA
  and fingerprint samples from the defendant. And electronic devices seized from the defendant
  further demonstrate that he is the one who carried out the attack. This evidence is sufficient to
  warrant transfer to the Southern District of New York under Rule 5(c)(3)(D)(ii).

                                                              Respectfully submitted,

                                                              GEOFFREY S. BERMAN
                                                              United States Attorney


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  Enclosures

  Cc:    Defense Counsel
         (Via Email)
